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                                 IN THE UNITED STATES DISTRICT COURT
                                FOR THE EASTERN DISTRICT OF VIRGINIA
                                                   Norfolk Division


ePLUS, INC.,

                                Plaintiff                        ) Civil Action No. 2:09cv232- HCM- TEM



PERFECT COMMERCE , INC., SCIQUEST
INC. , LA WSON SOFTWARE, INC., and
VERIAN TECHNOLOGIES, INC.,

                               Defendants.

                     DECLARATION OF BRENT L. VanNORMN IN SUPPORT OF
                            ePLUS' OPPOSITION TO DEFENDANTS'
                               MOTION TO STAY PROCEEDINGS

                         , Brent L. VanNorman, declare as follows:

                                 I am an attorney with the law firm of Hunton & Wiliams LLP, counsel for

Plaintiff ePlus, Inc. (" ePlus ) in this litigation. I submit this declaration in support of ePlus

Opposition to Defendants ' Motion to Stay Proceedings. I have personal knowledge of the facts

stated herein and , if called as a witness , could and would testify competently hereto.

                                 Attached hereto as Exhibit A is a tre and correct copy of the Notice of

Failure to Comply with            Inter Partes   Reexamnation Request Filng Requirements (37 CFR

1.915(d)) with respect to Lawson Software s Request for Reexamnation of U.S. Patent No.

   505, 172 mailed by the U. S. Patent and Trademark Offce on July 27 2009.

                    I declare under penalty of perjury that the foregoing is tre and correct.

                    Executed at Norfolk , Virginia on July 29 2009.




                                                              Brent L. Vanorman
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                           EXHIBIT A
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                         UNITED STATES PATENT AND TRADEMAK OFFICE                                                         PTOL- 2076 (8/06)

                                                                                                                                 Commissioner for Patents
                                                                                                                United States Patent and Trademark OffIC
                                                                                                                                            O. Box 1450
                                                                                                                              Alexandria, VA 22313-1450
                                                                                                                                          ww. uspto. gov
 Requester s Name and Address:             DOUGLAS J. CRISMAN
                                           MORGAN LEWIS & BOCKIUS, LLP
                                           2 PALO ALTO SQUARE, 3000 EL CAMINO REAL
                                           PALO ALTO, CA 94306
                                                                                                                         Control Number: 95/000, 487
 Patent Number: 6, 505, 172                Request Receipt Date: 07/10/09                                                Date Mailed: 7/27/09

  NOTICE OF FAILURE TO COMPLYWITH                       INTER PARTES          REEXAMINATION REQUEST FILING REQUIREMENTS (37 CFR 1. 915(d))

 The Central Reexamination Unit (CRU) in the United States Patent and TrademarK Offce (USPTO) has received a request for                      inter partes
 reexamination. The request cannot be processed , because the below-identified filing date requirements for an  inter partes    reexamination
 request have not been satisfied. If a fully compliant response is not received within      days of the mailng date of this notice, the request
 will be treated as a prior art citation under 37 CFR 1. 501 or closed from public view, at the Offce s option. A filing date wil NOT be
 assigned to the request until the deficiencies noted below are corrected (37 CFR 1. 919(a)):

 The following items required by 37 CFR 1. 915 are missing:

      1. The   inter partes   reexamination filing fee under 37 CFR 1. 20(c)(2) - see Attached Form PT0-2057.

 02. An identifICtion of the patent by its patent number , and of every claim of the patent for which reexamination is requested.

 03. A citation of the patents and printed publications that are presented to raise a substantial new question of patentabilty.

 1: 4. A statement pointing out each substantial new question of patentabilty based on the cited patents & printed publications, and a detailed
 explanation of the pertinency and manner of applying the patents & printed publications to every claim for which reexamination is requested.

 05. A legible copy of every patent or printed publication (other than U. S. patents or U. S. patent publications) relied upon or referred to in
 (3) and (4) above , accompanied by an English language translation of all the necessary and pertinent parts of any non- English language
 document.

    6. A legible copy of the entire patent including the front face, drawings, and specification/claims (in double column format) for which
 reexamination is requested, and a copy of any disclaimer, certificate of colTecion, or reexamination certificate issued in the patent. All
 copies must have each page plainly writen on only one side of a sheet of paper.

 07. A certifcation by the third part requester that a copy of the request has been served in its entirety on the ' patent owner at the
 address provided for in 37 CFR 1. 33(c). The name and address of the part served must be indicated. If service was not possible , a
 duplicate co y of the request must be supplied to the Offce.

     8. A certification by the third part requester that the estoppel provisions of 37 CFR 1. 907 do not prohibit the      inter partes   reexamination.
    9. A statement identifing the real part in interest to the extent necssary for a subsequent person filing an           inter partes   reexamination
 request to determine whether that person is a privy of the real part in interest.

 1810. Other item: See Attchment.

     Explanation of above item(s): See Attachment.

 Any written correspondence in response to this notice must include a submission pursuant to the attached instructions. The Instrctions
. for a detailed explanation for an      inter partes       reexamination request differ from those for an   ex parte   rexamination request.
  Any written colTespondence in respnse to this notice should be mailed to the Central Reexami nation Unit (CRU), ATTN: " Box Inter
J Partes Reexam" at the USPTO adress indicated at the top of this notice. Any " replacement documents ' may be facsimile transmitted to
  the CRU at the FAX number indicated below. A REPLACEMENT STATEMENT AND EXPLANATION UNDER 37 CFR 1. 915(b)(3) MAY


                                                 tl/
 Legal Instruments Examiner, Central Reexamination Unit
 (571) 272- 7740 ;FAXNo. (571)273-9




 cc: Patent Owner's Name and Address:                   GOODWIN PROCTER LLP
                                                        901 NEW YORK AVENUE NW
                                                        WASHINGTON, DC 2001
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   ATTACHMENT TO PTOL- 2076

   Control Number: 95/000,487
   Patent Number: 6 505 172
   Request Receipt Date: July 10 , 2009


   Please read the instructions that accompanv this Notice and Attachment.

   A request for         inter partes   reexamination (or for    ex parte   reexamination) must now' meet
   all the applicable statutory and regulatory requirements before a fiing date is accorded to
   the request. See MPEP 2227 Par B.l and MPEP 2217 , Par I. See also Clarifcation of
   Filing Date Requirements for Ex Parte and Inter Partes Reexamination Proceedings , 71
   Fed. Reg. 44219 (August 4 2006), 1309     Of Gaz. Pat. Offce   216 (August 29 , 2006)
   (final rule.

   The request submitted on July 10, 2009 , canot be processed because all of the filing date
   requirements for an            Inter Partes  reexamination have not been satisfied. The Request for
   Reexamination does not comply with the fiing requirement of an               Inter Partes
   reexamination proceeding under 37 CFR 1. 915(b)(3). A statement pointing out each
   substantial new question of patentabilty based on the cited patents and printed
   publications, and          detailed explanation of the pertinency and maner of applying the
   patents and printed publications            to every claim for which reexamination is requested

  Under 35        C.  311, in a request for inter partes reexamination ofa patent , the requester
  must " set forth the pertinency and maner of applying cited prior ar to every claim for
  which reexamination is requested. " Then , under 35 U. C. 312 and 313 , the Offce must
  detennine whether " a substantial new question of patentability " afecting any claim of the
  patent has been raised by the request for reexamination. To implement these statutory
  provisions, 37 CFR 1. 915(b)(3) requires that the request include " a statement pointing out
  each substantial new question of patentability based on the cited patents and printed
  publications.... " See MPEP 2617. Accordingly, it is mandatory that the request clearly
  set fort in detail the specifics of what the third pary requester considers the " substantial
  new question of patentability " to be. A request should point out how any questions of
  patentabilty raised are substantially different from those raised in the previous
  examination of the patent before the Offce. See 1\EP 2616. 1 (1 J


  1 (1) MPEP 2616 points out tht: "It is not sufficient that a request for reexamination merely proposes one
  or more rejections of a patent claim or claims as a basis for reexamiation.            It must first be demonstrted
  that a patent or prited publication that is relied upon in a proposed rejection presents           a new. non-
  cumulative technolo2ical teachi2 that was not previously considered and discussed on the record during
  the prosecution of the application that resulted in the patent for which reexamnation is requested , and
  durg the prosecution of any other prior proceeding involving the patent for which reexamination is
  requested. " (Emphasis added) The legislative history of the reexamination statute also provides that:
   Section I provides for a system of admistrative reexamination of patents withn the patent offce. This
  new procedure will permt any par to petition the patent offce to review the effcacy of a patent
  subsequent to its issuance , on the basis of new informtion about preexisting technology which may have
  escaped review at the time of the intial examnation of the patent application. " H. R. Rep. No. 96-1307
  96th Cong. , 2d Sess. 3 (1980), reprited in 1980 U.                N. 6460, 6461 , 6462.
           .....
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    The request has failed to provide the requisite identification and explanation, in
   compliance with 37 CFR 1.915(b)(3), of what substantial new questions of patentability
   (SNQs) are being raised by the cited prior ar documents under 37 CFR 1.915(b). The
   request fails to clearly explain how each asserted question of patentability is substantially
   different from those raised in the previous examination of the patent before the Offce.
   Specifically, the request states , e. , on page 17 "The ' 551 Patent describes an electronic
   sourcing system that was developed by the offce supply and business forms company
   Moore Business Forms,. .. , but fail to clearly identify what is the new , non-cumulative
   technological teaching for each reference. The request simply relies upon the detaled
   explanation as the sole basis for establishing the SNQ. As pointed out in MPEP 2616
     (i)t is not suffcient that a request for reexamination merely proposes one or more
   rejections of a patent claim or clais as a basis for reexamination.   It must first be
   demonstrted that a patent or printed publication that is relied upon in a proposed
   rejection presents   a new. non-cumulative technological teaching that was not previously
   considered and discussed on the record durg the prosecution of the application that
   resulted in the patent for which reexamination is reuested , and durig the prosecution of
   any other prior proceeding involving the patent for which reexamination is requested.
   (Emphasis added). Whle the request does address what some of the references teach
   individually, the request does not clearly explain, for each identified proposed rejection
   which teachings of the ar advanced as to the proposed rejection are substatially
   different than those considered in the previous examination of the patent by the Offce.
   Any corrected request fied in response to ths decision must clearly establish, for each
   proposed rejection identified , what is the new techncal teaching being provided by the
   citation of the newly cited references that supports the proposed rejection. See MPEP
   2642.

   Also, the request for inter pares reexamination cites 30 prior ar references on the
   Information Disclosure Statement (IDS). Specifically, the request does not incJude a
   detailed explanation of how each of the references cited on FORM PTO- 1449
   commingles documents relied upon to establish new question of patentabilty with
   documents that are not relied upon to establish a substantial new question of patentability.

   Under 35 U.S. C. 315 , the patent owner in an   inter partes reexamination proceeding has
   an appeal right ' 'with respect to any decision adverse to the patentability of' the patent
   claims, and the reexamination requester has an appeal right "with respect to any final
   decision favorable to the patentabilty of' the patent claims. Accordingly, the requester
   must accompany each proffered substantial new question of patentabilty with a proposed
   ground of rejecting the claims to which the substantial new question of patentability is
   directed.

   Requester must explain each proposed rejection in terms of the pertinency and maner of
   applying the cited ar , i. , references, to every claim for which reexamination is
   requested. 2(1) The request has failed to provide the required detailed explanation of how

   2(1) 35 U. C. 311(b) states in pertent part:
            (b) REQUIREMENTS. - The request shall-
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    the references apply to each and every claim limitation in clais 1- 7 in ever proposed
    rejection based on anticipation under 35 U. C. 102. The above-mentioned examples are
    ilustrtive examples and do not list ever inconsistency. Similar inconsistencies exist in
    the oth r proposed rejections. Therefore, the entire request must be reviewed for similiar
    inconsistencies and incompleteness and cOlTected in any cOlTected request for
    reexamination. .

   In view of the above, the reuest fails to provide a " statement pointing out each
   substantial new question of patentability based on the cited patents and printed
   publications, and a detaled explanation of the pertinency and maner of applying the
   patents and printed publications to ever claim for which reexamination is requested:' as
   is required by 37 CFR 1.915(b)(3).

   Each substantial new question of patentabilty (SNQ) to be raised and proposed
   ground of rejection must be identifed separately. 3(1) The patent claims applying to .
   eacb identifed SNQ and proposed rejection must be listed. Then, for each identified
   proposed rejection, the request must explain bow the cited documents identified for
   that proposed rejection are applied to meet/teacb tbe claim limitations for eacb
   listed claim, to tbus establish tbe identified proposed rejection.

   If the requester were permitted to    omit an identification of each SNQ and an explanation
   of how such documents cited in the request are applied to the patent claims , an undue
   buren would be placed on the Offce to address each document in the determination on
   the request, without an explanation of the relevance to the patent claims. Accordingly,
   such an     omission is prohibited by law.

                                                           CONCLUSION

   In accordance with 37 CFR 1.915(b), a filing date for the reexamination request wil                 not
   be granted at tbis time.

   Requester has the option to respond to this identification of a defect by           using
   the appropriate option( s) set forth below

  Providing an explanation of the maner and pertnence of applying each cited document
  to the patent claims for which reexamination i requested , as required by 37 CFR
  1.915(b)(3). Each substatial new question of patentabilty or proposed ground of
  rejection (" SNQ/proposed rejection ) must be identified separately. The patent claims.
  applying to each iden ified SNQ/proposed    rejection must be listed. Then , for each
  identified SNQ/proposed rejection , the request must explain how the cited documents
  identified for that SNQ/proposed rejection are applied to meet/teach the claim limitations
  for each listed clai, to thus establish the identified SNQ/proposed rejection. Where

           (2) set fort the pertency and manner of applyig cited prior art to every claim for which
  reexamination is requested. ...
  3(1) " Shot- gun " statements, or luming of multiple SNQ/rejection permutations together is not permitted.
  See MPEP 2617.
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   references are applied in combination , each combination must be individually identified,
   and for each separately identified combination of references, the basis for forming that
   combination must be supplied for each claim to which the identified combination is being
   applied.

    Explicitly withdrwing any document for which such an explanation is not to be provided
    for the patent claims , and submitting a new listing confined to the documents for which a
    discussion required by 37 CPR 1. 915(b)(3) has been provided via the request papers. As
  . to any of the documents withdrwn , if reexamnation is ultimately ordered , the patent
    owner may, in accordance with MPEP 2280, submit an Inormation Disclosue Statement
    (IS) in compliance with 37CFR 1.555 "withn two month of the date of the order
    granting reexamination, or as soon thereafter as possible.

   Explicitly withdrawing the request to reexamine any patent claim for which the requisite
   identification of the SNQ and explanation of proposed rejection are not provided , and
   replacing the presently-of-record listing (in the deposited request) of the claims for which
   reexamination is requested - with a new listing of claims for which reexamination is
   requested, the new identification being confined to those claims for which the discussion
   requir by 37 CFR 1.915(b)(3) is provided.

   Withdrawing any proposed combination or application of a sole reference for which an
   explanation as required by 37 CFR 1.915(b)(3) is not provided, by replacing the
   presently-of-record identification of the SNQ and explanation of proposed rejection with
   a new identification of the SNQ and explanation of proposed rejection , the new
   identification being confined to those claims for which the discussion required by 37
   CFR 1.915(b)(3) is provided. .

   Failure to submit a proper response to this Notice may result in the termination of
   the request, with no fiing date accorded.

   All correspondence related to this ex pare reexamination proceeding should be directed:

   By EFS: Registered users may submit via the electronic filing system EFS- Web , at
   http://sportal. gov/authenticatelauthenticateuserlocalepf. html

   By Mail to:    Mail Stop Ex Pare Reexam
                  Central Reexamation Unit
                  Commissioner for Patents
                  United States Patent & Trademark Offce
                   O. Box 1450
                  Alexandra, VA 22313- 1450

   By Hand:       Customer Service Window
                  Randolph Building
                  401 Dulany Street
                  Alexandra, VA 22314
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Instrctio,"S to PTOL- 2076 Notice of Failure to Comply


        INSTRUCTIONS TO NOTICE OF FAILURE TO COMPLY WITH                           INTER PARTES      REEXAMINATION REQUEST
                                                           FILING REQUIREMENTS (37 CFR 1. 915)

HOW TO REPLY TO THIS NOTICE
Any written correspodence in response to this notice mus incude either a replacement document, or , if item #4 is checked andlor It
is otherwise speifically required by the Ofe, a paper containing a replacement statement and explanation under 37 CFR
  915(b)(3) that eitner replace the originally-filed statement and explanation or provides a previously missing statement and explanation.
A replacement docment either replaces an originally-file docment , or provides a previously missing document , that contains partes) of
the request other than the statement and explanation as set forth In 37 CFR 1. 915(b)(3). For example, a replacement to the originally-
fied listing of cited patents and printed publicatins , PTO/SBl08 (formerly designatd as PT0-1449) or its equivalent, is a replacement
document
If a paper containing a replacement statement and explanatin , or a replacement document (other than a replacement certficate of
service), is submitted by a third part requester, it must be accmpanied by a certifcation that a copy of the replacement statement and
explanation under 37 CFR 1. 915(b)(3), or that a copy of the replacement document . has been served in its entirety on the patent owner at
the addres provided for in 37 CFR 1. 33(c). The name and address of the part served must be indicated. If service was not possible, a
duplicte copy of the replacement statement and explanation (or replacement document) must be supplied to the Ofce.
REPLACEMENT STATEMENT AND EXPLANATION UNDER 37 CFR 1. 915(b)(3) llTEM #4 IS CHECKED)

The statement and explanaton under 37 CFR 1.915(b)(3) (see item #4) must discuss EVERY patent or printed publication cited In
the Information disclosure statement in at least one prosed rejecon or statement identifing a    substantial new Question of
oatentabilitv (SNQ), AND in a colTesponding detailed eXDlanation (see the below discussion). Furtermre , EVERY claim for which
reexamination Is requested must be discussed in at least one proposed rejecton or statement identifing an SNQ and in the
corrponding detailed explanation. If item #4 is missing or incomplete, a paper containing a replacement statement and explanation
under 37 CFR 1. 915(b)(3) is required.

A paper containing a replacement statement and explanation under 37 CFR 1. 915(b)(3) may NOT be facsimile transmitted. It
must be received by first class mail or by U. S. Postal Service (USPS) Express Mail.

If an originally-filed Information disclosure statement cites patents or printed publications that are NOT discussed in at least one
proposed rejeion or statement identifying an SNQ AND in the colTesponding detailed explanation in the originally-filed request, then
the requester must file either (a) a replacement document, I. e., a replacement PTO/SBl08 (former PTO- 1449) or its equivalent, listing
ONLY those patents and printed publications that are so disused, or (b) a paper containing a replacement statement and
explanation under 37 CFR 1. 915(b)(3). If the first option is chosen , the replacement PTO/SBl08 or its equivalent should include a cover
letter expressly withdrawing from the request any previously cited references that are being omitted by the replacement PTO/SB/08 or its
equivalent. The requester may, if desired , file both a replacement PTO/SB/08 or its equivalent and a paper containing a replacement
statement and explanation, if the replacement statement and explanation discusses EVERY patent or printed publication , cited in the
replacement PTO/SB/08 or its equivalent, in at least one proposed rejection or statement identifying an SNQ and in the corresponding
detailed explanation.

Requester is NOT require to, and should not, additionally file a replacement copy of any exhibits , references, etc. , or other replacement
part of the request (i. , replacement documents) if a defect requiring a replacement document is not specifically identified by this notice.

ExamDles of When a ReDlacement Statement and EXDlanatlon under 37 CFR 1. 915'b)(3) Is Reaulred:

1. The originally-filed request fails to discuss EVERY patent or printed publication cited in the oriinally- filed infonnation disclosure
statement in at least one proposed rejection or statement identifying an SNQ and in the corresponding detailed explanation, and the
requester does not wish to file a replacement PTO/SBl08 (formerly designated as PT0-1449) or its equivalent listing ONLY those patents
and printed publications      that are so discused.
2. The originally- filed request discusses every patent or printed publication cited in the informtion disclosure statement in at least one
proposed rejection or statement identifying an SNQ, but falls to discuss EVERY patent or printed publication cited In the
Information disclosure statement in a       detailed eXDlanatlon that corresponds to the proposed rejection or statement identifying
an SNQ.

3. The originally-filed request fails to discuss EVERY CLAM for which reexamination is reuested in at least one proposed rejection or
statement identifing an SNQ, and in the corresponding detailed explanation.
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 Instrctions to PTOL- 2076 Notice of Failure to Comply



 Examples of Proposed Relectlons and Statements Identlfyna a Substantlal New Question of Patentabilty ISNQ)

 Prooosed rejections

 Claims 1-3 are obvious over referenc A in view of reference B.
 Claims 4-6 are obvious over reference A in view of reference Band C.
 Claims 7- 10 are obvious over reference Q in view of reference R.

 Statements identifina a substantial new Questin of Datentabiltv

 A substantial new question of patentability as to claims 1. 3 is raised by reference A in view of reference B.
 A substantial new quesion of patentabilit as to claims 4-6 is raised by reference A in view of references Band C.
 A substantial new questin of patentability as to claims 7- 10 is raised by reference Q in view of referenc'R.

 A proposed rejection or statement Identifyng an SNQ must be repeated with any                                 replacement   detailed explanation that
 corrponds to the proposed rejection or statement Identifying an SNQ, in any paper containing a replacement statement and
 explanation under 37 CFR 1.915(b)(3).

 In addition, the requester should Include an explanation of                     how the SNQ Is raised.
 1. Assume that claim 1 of the patent recites, as one of the limitations, widget W. Requester would state that the XY reference, cited
the infonnation disclosure statement, contains a teacing of widget W as recited in claim 1 , and that this teaching was not present during
the prior examination of the patent under reexamination (i. e., the teaching is " new"). Requester would also state that he believes that a
reasonable examiner would consider this teaching importnt in detennining whether or not the claims are patentable. For this reason
reuester would state that this teaching by the XY reference raises a substantial new question of patentabilty (SNQ) with respect to at
least claim 1 of the patent. Similarly, If dependent claim 6 adds widget H , the requester would state that the ABC reference, cited In the
infonnatin disclosure sttement, contains a teaching of widget H as rected in claim 6, that this teaching was not present during the prior
examination of the patent , that a reasonable examiner would consider this teaching important in detennining whether or not the claims are
patentable: and that this teaching raises an SNQ with respect to dependent claim 6 of the patent.

2. Assume that claim 1 of the patent recites, as one of its limitations . limitation W. Assume either that reference XYZ was applied in a
rejecton during the prior examination of the patent , or that the teachings of reference XY are purely cumulative to a reference cited in a
rejection during the prior examination of the patent. Assume further that reference ABC teaches that the limitation W would have been
either Inherent given the teachings of reference XY , or would have been obvious in view of the combination of XYZ and ABC.
Reference ABC was cited In an information disclosure statement but was never discussed or applied in a rejection in
                                                                                                                                           combination with
the XY     reference during the prior examination of the patent under reexamination. Requester would state that reference XYZ was
present during the prir examination of the patent under reexamination because it was applied in a rejection during the prosecution of the
patent, and that reference ABC was cited in an infonnation disclosure statement but never applied in a rejection (or never discussed), In
combination with the XY reference during the prior examination of the patent under reexamination Requester would then state (1)
that the combination   of the XYl reference and the ABC reference, both of which are cited In the information disclosure statement
contains a teaching of limitation W as recited In claim 1 , (2) that this teaching provided by the combination of the XYZ and.ABC
references was not presented during the prior examination of the patent under reexamination , (3) that a reasonable examiner would
consider this teaching importnt in detennlnlng whether or not the claims are patentable , and (4) that the presentation of this teaching
raises a SNQ with respect to claim 1 of the patent.

Example of a Detalled Explanation

Assume, for example, that a requester believes that the XYl reference, alone, anticipates claims 1- 5. The                       reQuester would expresslv
 oropose a rejection of claims 1.5 under 35 USC 102(b) as beina anticipated bv the XYZ reference . In a claim chart. the requester would
then show how each limitation of claims 1.5 is anticipated by the XYZ reference. If the requester believes that the XYZ reference, in
view of the ABC reference, renders obvious claims 6- 10, the reQuester would expresslv Drooose a reiection of claims 6-10 under 35 USC
 103 as beinQ obvious over the XYZ reference In view of the ABC reference . In a claim chart , the requester would then show which
limitations of claims 6-10 are taught by the XY reference, and which limitations of claims 6- 10 are taught by the ABC reference. The
requester should quote each pertinent teaching in the prior art referenc, referencing each quote by page, column and line number
                                                                                                                                   , and
any relevant figure numbers. Finally, for a proposed rejection, the reuester must show how these two references are combined, and the
teaching in either the XY or the ABC references which provides the motivation to combine these references in order to render claims 6-
10 obvious.
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Instrctions to PTOL-2076 Notice of Failure to Comply



REPLACEMENT DOCUMENTS

If the originally-filed PTO/SB/08 (fonner PTO- 1449) or Its equivalent lists patents or printed publications that are NOT discussed
in at least one proposed rejecon or statement identifying an SNQ AND in the colTesponding detailed explanation In the originally-filed
reuest, the requester may file a paper containing a replacement PTO/SB/08 (former PTO-1449) or Its equivalent listing ONLY those
patents and printed publications that are so discusd. The replacement PTO/SB/08 or its equivalent should include a cover letter
expressly withdrawing from the request any previously cited referencs that are now being omitted by the replacement PTO/SB/08 or its
equivalent. Similarly, if any patent or printe publication discussed in at least one proposed  rejecton or statement identifing an
SNQ AND In   e colTesponding detailed explanation In the originally-filed request Is not listed In the originally-filed PTO/SBl08
(former PTO-1449) or its equivalent, the requester must file a replacement PTO/SBl08 (former PTO- 144) or its equivalent listing all of
the patents and printed publications, including th previously omitted reference(s), and provide copies of the missing references if copies
were not provided with the oriinally-file request

If a copy of a patent , printed publication , or an English-language translation of a patent or printed publication, that is cited in the
PTO/SBl08 (former PT0-1449) or its equivalent, is ilegible, missing, or incomplete (Le.. it does not contain all of the pages indicated in
the PTO/SB/08 (former PT0-1449) or it eqivalent), a replacement copy of the patent or printed publication is required.

If a copy of any disclaimer , certficate of correction , or reexamination certifcate issued in the patent, or a copy of the entire patent for


                                                                  require.
which reexamination is reuested as described in item #6 , is missing, or if the copy that was received by the Ofce was Ilegible or
incomplete, a replacement document (Le. , a replacement copy of the disclaimer , certifite of colTection, reexamination certifcate, or
entire patent under reexamination as described in item #6) is

If the requester fails to COlTectl identi the patent number or the claims for which reexamination is requested on th transmittl form for
the request (PTO/SB/57 , or an. equivalent) as described in item #2, and the patent number and the claims for which reexamination is
requested are correcy identifed in the originally-filed request , a replacement transmittl form is required.

If a certificate of service on the patent owner , as descrbed in item #7 , is missing, or if the certficate of service received by the Ofce is
inaccrate or incomplete, a replacement certcate of service is required.

Replacement documents may be facsimile trnsmited. A paper containing a replacement statement and explanation may NOT be
facsimile transmitted.
